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                    EXHIBIT 23
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  From:      glen erner [glenierneresqaol.com)
  Sent:     Tuesday, January 29, 2013 1:44 PM
  To:       Susan DeSantis
  Subject: Fwd:



  euin tonvarded message:

          From: Sutton Lionel <hs3lflot’.com>
          Subject: RE:
          Date: January 29, 2013 10:19:54 AM MST
          To: Glen Lerner <.:__:rr:sco.cz:n>
        You can’t. Yours are going pretty fast. The process will
                                                                 get faster on its own as grey areas are
        resolved and applied across the board.
        What you can do is make sure that any incomplete notices
                                                                     are responded to asap. Previously,
        responses to incomplete notices were sent to the back of
                                                                   the line but we will be streamlining that
        process very soon.

        Lionel H. Sinton. Ill
        935 Gravier St.. Ste. 1910
        \ew Orleans, LA 70112
        Office 504 592 3230
        Cell 504 957 4689



        From:
        Subject: Re:
        Date: Tue, 29 Jan 2013 09:59:36 -0700
        To:

        its good to have friends in high places. How can we speed up our review proces
                                                                                      s?
        On 3an 29, 2013, at 9:57 AM, Sutton Lionel wrote:

              To date:

              You have filed 384 claims on behalf of 358 claimants.
              Eligibility notices with payment offers have been sent on 72 ciaims for a
                                                                                        tot of
              $3,888,726.
             63 offers have been accepted and 59 have been paid a total of $3,191,206.
                                                                                           4 are
             pending payment.
             77 claims have been determined to be eligible for payment and are
                                                                                   in accounting to
             determine the amount. Appropriate notices have been or will be issued.
             7 are eligible but no payment is warranted. Appropriate notices have been or
                                                                                             will be
             issued.
             70 claims are incomplete and are waiting for responses from firm. (In some
                                                                                           cases,
             responses have been sent but not processed. We are working to fix that.)
             4 claims have been excluded from class and 1 has been closed. Appropriate
                                                                                           notices
             have been or will be issued.



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            62.7% of your claims have been processed.
            The remaining 143 claims are stiB in review.

            Lionel H. Sutton, III
            935 GravierSt.. Ste. 1910
            New Orleans, LA 70112
            Office 504 592 3230
            Cell 504 957 4689


            > From:
            > Subject:
            > Date: Tue, 29 Jan 2013 08:38:10 -0700
            > To:
            >
            > Can you ask Chris what I need to do to get my BP claims in some sort of priority.
            We have over a thousand claims and hundreds on file and yet only trickling in a check
            or two per week. I need my claims expedited. More money coming in means I start
            getting my sea legs and can keep us going in other areas.




9/17/2013
